   Appellate Case: 18-4075       Document: 63-2         Date Filed: 04/09/2019   Page: 1

                        UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT
                             OFFICE OF THE CLERK
                              Byron White United States Courthouse
                                       1823 Stout Street
                                    Denver, Colorado 80257
                                        (303) 844-3157
Elisabeth A. Shumaker                                                            Chris Wolpert
Clerk of Court                         April 9, 2019                        Chief Deputy Clerk




Russell G. Greer
6337 South Highland Drive, Unit 209
Salt Lake City, UT 84121

RE:       18-4075, Greer v. Herbert, et al
          Dist/Ag docket: 2:16-CV-01067-DBP

Dear Appellant:

Enclosed is a copy of the order and judgment issued today in this matter. The court has
entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

Please contact this office if you have questions.

                                             Sincerely,



                                             Elisabeth A. Shumaker
                                             Clerk of the Court



cc:       Catherine L. Brabson
          Tyler R. Green
          Stanford E. Purser
          Jacque Marie Ramos
          Lance Sorenson
          David N. Wolf



EAS/sls
